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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION
UNITED STATES OF AMERICA,                       )
                                                )
          Plaintiff(s),                         )
                                                )
    v.                                          )          No. 4:18-CV-01467-JAR
                                                )
2016 LAMBORGHINI AVENTADOR,                     )
VIN: ZHWUR1ZDXGLA04692, et al.,                 )
                                                )
          Defendant(s).                         )


                                             ORDER

         This matter is before the Court on Plaintiff’s Motion to Withdraw Stay and Joint Motion to

Continue Rule 16 Conference. (Doc. 16.) On December 15, 2018, the Court set a Rule 16

scheduling conference for November 20, 2018. (Doc. 10.) That same day, Plaintiff filed a Motion

to Stay Proceedings. (Doc. 11.) Claimant Eli Abraham opposed the Motion. (Doc. 13.) That

motion is still pending. Plaintiff now moves to withdraw its motion to stay and seeks a forty-five-

day continuance of the Rule 16 conference. (Doc. 16.)

         Upon review,

         IT IS HEREBY ORDERED that Plaintiff’s Motion to Withdraw Stay and Joint Motion to

Continue Rule 16 Conference (Doc. 16), is GRANTED and Plaintiff’s Motion to Stay (Doc. 11),

is WITHDRAWN.

         IT IS FURTHER ORDERED that the scheduled Rule 16 conference is CONTINUED to

Tuesday, January 8, 2019 at 10:00 a.m.

Dated this 19th Day of November, 2018.


                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE
